             Case 3:21-cv-05652-BHS Document 40 Filed 10/16/23 Page 1 of 4




 1                                                                       Honorable Benjamin H. Settle

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 7                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                      AT TACOMA
 9   NORTHWEST PIPE COMPANY, a                           Case No.: 21-05652 BHS
     Washington corporation,
10                                                       STIPULATED MOTION AND ORDER
                         Plaintiff,                      DISMISSING ALL CLAIMS WITH
11                                                       PREJUDICE
              v.
12
     THE PHOENIX INSURANCE COMPANY, a
13   foreign insurer authorized by the Washington
     insurance commissioner, TRAVELERS
14   PROPERTY CASUALTY COMPANY OF
     AMERICA, a foreign insurer authorized by the
15   Washington insurance commissioner, and
     ALLIED WORLD NATIONAL
16   ASSURANCE COMPANY, a foreign insurer
     authorized by the Washington insurance
17   commissioner,
18                       Defendants.
19

20                                      I.     STIPULATED MOTION

21            Pursuant to Fed. R. Civ. P. 41(a)(2), this Stipulated Motion and [Proposed] Order is

22   filed on behalf of Plaintiff Northwest Pipe Company and Defendants The Phoenix Insurance

23   Company, Travelers Property Casualty Company of America, and Allied World National

24   Assurance Company (collectively, the “Parties”). It is hereby stipulated and agreed to by the

25   Parties, through their undersigned attorneys of record, that this action, including all claims

26   that were or could have been asserted by any of the Parties with respect to the subject matter

      STIPULATED MOTION AND ORDER DISMISSING ALL CLAIMS WITH                          BUCHALTER
                                                                                  1420 FIFTH AVENUE, SUITE 3100
      PREJUDICE - 1                                                                 SEATTLE, WA 98101-1337
      CASE NO.: 21-5652                                                             TELEPHONE: 206.319.7052

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             Case 3:21-cv-05652-BHS Document 40 Filed 10/16/23 Page 2 of 4




 1   of this action, shall be dismissed with prejudice without an award of attorney fees or costs to

 2   any of the Parties herein.

 3            Respectfully submitted this 16th day of October, 2023.

 4

 5    BUCHALTER PC                                    LETHER LAW GROUP

 6    /s/Bradley Hoff                                 /s/Thomas Lether
 7    Bradley Hoff, WSBA #23974                       Thomas Lether, WSBA #18089
      1420 Fifth Avenue, Suite 3100                   Geraldine A. T. Enrico, WSBA #54917
 8    Seattle, WA 98101-1337                          1848 Westlake Avenue N., Suite 100
      T: 206.319.7052                                 Seattle, WA 98109
 9    E: bhoff@buchalter.com                          T: 206.467.5444 F: 206.467.5544
      Attorneys for Plaintiff Northwest Pipe          E: tlether@letherlaw.com
10    Company                                         E: genrico@letherlaw.com
11                                                    Attorneys for Defendants The Phoenix
                                                      Insurance Company and Travelers Property
12                                                    Casualty Company of America

13

14                                                    NICOLAIDES FINK THORPE
      FORSBERG UMLAUF, P.S.                           MICHAELIDES SULLIVAN LLP
15

16    /s/Stephanie Andersen                           /s/Ian A. Cooper
      Stephanie Andersen, WSBA #22250                 Ian A. Cooper, Bar #6292599
17    Sally A. Clements, WSBA #54502                  Alida Pecanin, Bar #6330275
      901 Fifth Avenue, Suite 1400                    10 South Wacker Drive, Suite 2100
18    Seattle, WA 98164                               Chicago, IL 60606
      T: 206.689.8500 F: 206.689.8501                 T: 312.585.1400 F: 312.585.1401
19
      E: SAndersen@FoUm.law                           E: icooper@nicolaidesllp.com
20    E: SClements@FoUm.law                           E: apecanin@nicolaidesllp.com
      Attorneys for Defendant Allied World            Attorneys for Defendant Allied World
21    National Assurance Company                      National Assurance Company
                                                      Admitted Pro Hac Vice
22

23

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      STIPULATED MOTION AND ORDER DISMISSING ALL CLAIMS WITH                         BUCHALTER
                                                                                 1420 FIFTH AVENUE, SUITE 3100
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             Case 3:21-cv-05652-BHS Document 40 Filed 10/16/23 Page 3 of 4




 1
                                               II.       ORDER
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              Pursuant to the parties’ stipulation, IT IS SO ORDERED:
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                                                 A   BENJAMIN H. SETTLE
                                                     United States District Judge
 7

 8
     Jointly Presented by:
 9
     BUCHALTER PC
10

11   /s/Bradley Hoff
     Bradley Hoff, WSBA #23974
12   1420 Fifth Avenue, Suite 3100
     Seattle, WA 98101-1337
13   E: bhoff@buchalter.com
     Attorneys for Plaintiff Northwest Pipe Company
14

15
      LETHER LAW GROUP
16

17    /s/Thomas Lether
      Thomas Lether, WSBA #18089
18    Geraldine A. T. Enrico, WSBA #54917
      1848 Westlake Avenue N., Suite 100
19    Seattle, WA 98109
      E: tlether@letherlaw.com
20
      E: genrico@letherlaw.com
21    Attorneys for Defendants The Phoenix Insurance Company and
      Travelers Property Casualty Company of America
22

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 1
      FORSBERG UMLAUF, P.S.
 2
      /s/Stephanie Andersen
 3    Stephanie Andersen, WSBA #22250
      Sally A. Clements, WSBA #54502
 4
      901 Fifth Avenue, Suite 1400
 5    Seattle, WA 98164
      E: SAndersen@FoUm.law
 6    E: SClements@FoUm.law
      Attorneys for Defendant Allied World National Assurance Company
 7

 8    NICOLAIDES FINK THORPE MICHAELIDES SULLIVAN LLP

 9    /s/Ian A. Cooper
      Ian A. Cooper, Bar #6292599
10    Alida Pecanin, Bar #6330275
      10 South Wacker Drive, Suite 2100
11    Chicago, IL 60606
12    E: icooper@nicolaidesllp.com
      E: apecanin@nicolaidesllp.com
13    Attorney for Allied World National Assurance Company
      Admitted Pro Hac Vice
14

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      CASE NO.: 21-5652                                                   TELEPHONE: 206.319.7052

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